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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

POGO RESOURCES, LLC,                                      §
         Plaintiff,                                       §
                                                          §     Civil Action No. 3:19-CV-2682-BH
v.                                                        §
                                                          §
ST. PAUL FIRE AND MARINE                                  §
INSURANCE COMPANY, A MEMBER                               §
COMPANY OF THE TRAVELERS                                  §
GROUP OF INSURERS,                                        §
           Defendant.                                     §     Consent Case1

                              MEMORANDUM OPINION AND ORDER

         Before the Court is Defendant St. Paul Fire and Marine Insurance Company’s Motion for

Partial Summary Judgment, filed July 14, 2021 (doc. 72), and Plaintiff’s Affirmative Motion for

Partial Summary Judgment on its Declaratory Judgment and Breach of Contract Claims, filed July

14, 2021 (doc. 75). Based upon the relevant filings and applicable law, both motions are DENIED

in part and GRANTED in part.

                                              I. BACKGROUND

         This is an insurance coverage dispute between Pogo Resources, LLC (Plaintiff), a Texas oil

and gas company, and St. Paul Fire and Marine Insurance Company (Defendant). (See doc. 63.)2

A.       Insurance Policies

         Defendant issued Plaintiff commercial general liability (CGL) and umbrella excess

protection (Umbrella) insurance policies for its oil and gas operations, effective from March 1, 2017

to March 1, 2018 (collectively Pogo Policy). (docs. 74-3; 74-4; 77-1 at 87-150; 77-2.) Paladin


         1
         By consent of the parties and the order of transfer dated January 29, 2020, this case has been transferred for
the conduct of all further proceedings and the entry of judgment.
         2
         Citations to the record refer to the CM/ECF system page number at the top of each page rather than the page
numbers at the bottom of each filing.
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Energy Corporation (Paladin) was a Dallas-based oil and gas company that owned and operated oil

and gas assets in Texas and New Mexico. (docs. 63 at 2; 65 at 2.) Defendant separately issued

Paladin CGL and Umbrella insurance policies for its oil and gas operations, effective July 1, 2016

to July 1, 2017 (collectively Paladin Policy). (docs. 74-1; 74-2; 77 at 8-149; 77-1 at 1-85.) The Pogo

and Paladin policies generally provide the named insured coverage for, among other things, bodily

injury and property damage and pollution clean-up costs. (docs. 74-1 at 85-88; 74-2 at 35-38; 74-3

at 115-18; 74-4 at 48-51; 77 at 91-94; 77-1 at 34-37; 77-2 at 24-27, 105-08). The main forms of the

Pogo Policy are identical to the main forms of the Paladin Policy.3 (docs. 74-1 at 84-121; 74-3 at

115-48; 74-4 at 1-3; 77-2 at 24-60; 77 at 90-127.) Both provide, in relevant part:

        What This Agreement Covers

        Bodily injury and property damage liability. We’ll pay amounts any protected
        person is legally required to pay as damages for covered bodily injury or property
        damage that:
        • happens while this agreement is in effect; and
        • is caused by an event.
                                             ***

        Property damage means:
        • physical damage to tangible property of others, including all resulting loss of use
        of that property; or
        • loss of use of tangible property of others that isn’t physically damaged.
                                              ***

        Event means an accident, including:
        • continuous or repeated exposure to substantially the same general harmful
        conditions; and
        • a sudden and accidental pollution incident.
                                            ***

        Pollution clean-up costs. We’ll pay amounts you voluntarily incur, or you or any

        3
          Even though there is a separate main form for the CGL policy and the Umbrella policy, the policies have the
same or substantially similar provisions and terms. (Compare docs. 74-1 at 84-121; 74-3 at 115-48; 77 at 90-127; 77-2
at 24-60 with docs. 74-2 at 30-83; 74-4 at 43-93; 77-1 at 29-82; 77-2 at 102-50.)

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    other protected person is legally required to pay, for covered pollution clean-up costs
    that are incurred for a sudden and accidental pollution incident which:
    • begins on a specific date and at a specific time while this agreement is in effect;
    • results from your work or your completed work in the performance of your oil or
    gas operations, other than any work that is or was performed at, on, in, or from a
    waste site; and
    • doesn’t result from any intentional and willful violation of any governmental law,
    regulation, or rule by you or anyone acting on your behalf.
                                          ***

    Pollution work means:
    • the testing for, or monitoring, cleaning up, removing, containing, treating,
    detoxifying, or neutralizing of, any pollutant; or
    • the responding to, or assessing, in any way the effects of any pollutant.

    Pollutant means any solid, liquid, gaseous, or thermal irritant or contaminant,
    including:
    • smoke, vapors, soot, fumes;
    • acids, alkalis, chemicals; and
    • waste.

    Waste includes materials to be recycled, reconditioned, or reclaimed.

    But we won’t consider waste to include:
    • any substance produced from any well that results from your oil or gas operations,
    but only while such substance is located at, on, or in any premises, site, or location
    where such operations are being performed;
    • any substance injected into any well to produce oil or gas in your oil or gas
    operations, but only while such substance is located at, on, or in any premises, site,
    or location where such operations are being performed; or
    • glycol or any other machinery or equipment operating fluid that was used in your
    oil or gas operations, but only while such substance is handled or stored at, on, or in
    any premises, site, or location where such operations are being performed.

    For the purposes of this paragraph, your oil or gas operations doesn’t include:
    • the part of oil or gas lease or well operations that includes the ownership of any
    plugged and abandoned well; or
    • any operations described as Your oil or gas operations in the Broadened Defined
    Meanings Table in the Coverage Summary.

    Your oil or gas operations means any of the following operations, including
    supporting operations for any of those operations, that are or were performed by or
    for you:
    • Gasoline recovery from casing head or natural gas.

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    • Oil or gas lease or well operations.
    • Cleaning, drilling, re-drilling, servicing, shooting, or swabbing of, or other
    operations performed on, oil or gas wells.
    • Installation or recovery of casing in oil or gas wells.
    • Installation, service, or repair of equipment, machinery, tanks, electrical or water
    lines, flowlines, or gathering lines, or site preparation or construction, at, on, in, or
    next to any oil or gas lease or well site for oil or gas lease or well operations at, on,
    or in such site.
    • Described oil or gas pipeline operations.
    • Geophysical exploration for oil or gas.
    • Any operations described as Your oil or gas operations in the Broadened Defined
    Meanings Table in the Coverage Summary.

    Your oil or gas operations also means any other operations that are or were
    performed by or for you at, on, or in any oil or gas lease or well site for oil or gas
    lease or well operations there.

    But we won’t consider your oil or gas operations to include:
    • the transporting, handling, storage, disposal, or processing of any pollutant; or
    • pollution work;
    unless such operations are or were performed at, on, in, or next to any premises, site,
    or location which:
    • you rent or lease from others, own, or operate; or
    • the lease or well operator operates.
                                         ***

    Oil or gas lease or well operations means the ownership or operation of:
    • any oil or gas lease or well; or
    • any other well that's part of operations for any oil or gas lease or well.
                                          ***

    Pollution means any actual, alleged, or threatened discharge, dispersal, escape,
    migration, release, or seepage of any pollutant.
                                        ***

    Waste pollutant means any pollutant that is or was at any time transported, handled,
    stored, treated, disposed of, or processed as waste by or for:
    • any protected person; or
    • any person or organization for whom any protected person may be legally
    responsible.
                                         ***

    Sudden and accidental pollution incident means the discharge, escape, or release of
    a pollutant that:

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    • is sudden and accidental;
    • is first known within 30 days of its beginning by you or any of your employees,
    your operating agent or any of its employees, your pumper-gauger or any of its
    employees, or any other applicable person or organization;
    • any protected person, your operating agent, or your pumper-gauger attempts to end
    as soon as possible after it first becomes known by you or any of your employees,
    or your pumper-gauger or any of its employees; and
    • is reported to us under this agreement within 90 days after it first becomes known
    to you or any of your employees, your operating agent or any of its employees, your
    pumper-gauger or any of its employees, or any other applicable person or
    organization.
                                          ***

    Exclusions - What This Agreement Won’t Cover
                                  ***

    Pollution clean-up costs that result from your products. We won’t cover pollution
    clean-up costs that result from your products.

    Pollution injury or damage. We won’t cover injury or damage or medical expenses
    that result from pollution.

    But we won’t apply this exclusion to bodily injury, property damage, or medical
    expenses that result from:
    • building heating, air conditioning, or water heating equipment fumes, smoke, soot,
    or vapors;
    • contractor or service work materials fumes, gases, or vapors;
    • hostile fire heat, fumes, or smoke; or
    • mobile equipment operating fluids.

    Nor will we apply this exclusion to:
    • bodily injury or property damage that results from your products or your completed
    work, other than waste products or completed work; or
    • premises damage that results from fire.

    Also, we won’t apply this exclusion to bodily injury, property damage, or medical
    expenses that result from a sudden and accidental pollution incident which:
    • begins on a specific date and at a specific time while this agreement is in effect;
    • takes place at, on, in, or from a protected person’s premises or protected person’s
    worksite, other than any such premises or work site that’s a waste site, or takes place
    in the course of described transportation operations being performed by or for you;
    • doesn’t involve any pollutant that’s a waste pollutant at the time of its discharge,
    escape, or release;
    • doesn’t result from pollution work by or for any protected person or others unless

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         such work qualifies as your oil or gas operations; and
         • doesn’t result from any intentional and willful violation of any governmental law,
         regulation, or rule by you or anyone acting on your behalf.
                                              ***

         We’ll consider all such bodily injury and property damage that results from a sudden
         and accidental pollution incident to happen at the time the sudden and accidental
         pollution incident begins, regardless of when such bodily injury or property damage
         actually happens.
                                              ***

         Pollution work loss, cost, or expense. We won’t cover any:
         • loss, cost, or expense that results from any request, demand, order, or statutory or
         regulatory requirement that any protected person or others perform pollution work;
         • cost or expense that’s for pollution work; or
         • loss, cost, or expense that results from any claim or suit by or for any governmental
         authority because of the performance of pollution work.

         But we won’t apply this exclusion to any costs or expenses that are pollution
         clean-up costs covered under the Pollution clean-up costs section of this agreement.
                                            ***

(docs. 74-1 at 84-121; 74-3 at 115-48; 74-4 at 1-3; 77-2 at 24-60; 77 at 90-127.)4

         The Pogo and Paladin Policies contain various endorsements that alter coverage by

modifying the provisions of each policy’s main forms. (docs. 74-1 at 122-38; 74-4 at 4-19; 77 at

128-44; 77-2 at 61-76.) As relevant, both policies contain an endorsement that broadens coverage

for above-ground operations for disposal wells (DW Endorsement). (docs. 74-1 at 127; 74-4 at 8;

77 at 133; 77-2 at 65.) The DW Endorsement provides:

         YOUR ABOVE-GROUND OPERATIONS FOR DISPOSAL WELLS

         4
          Both policies also contain an anti-assignment clause that provides, in part:

         Assignments and Transfers
         Neither you nor any other person or organization protected under your policy can assign, transfer, or
         otherwise turn over, your interest in it without consent from us in a written form that’s made part of
         your policy.

(docs. 74-1 at 13; 74-3 at 20; 77 at 19; 77-1 at 105.)


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    ENDORSEMENT - OIL AND GAS COMMERCIAL GENERAL LIABILITY

    This endorsement changes your Oil And Gas Commercial General Liability
    Protection.

    How Coverage Is Changed

    There are four changes that are explained below. These changes broaden coverage.

    1. The following replaces the second paragraph of the definition of your oil or gas
    operations in the Pollution clean-up costs section of the What This Agreement
    Covers section.

           Your oil or gas operations also means:
           • any other operations that are or were performed by or for you at, on, or in
           any oil or gas lease or well site for oil or gas lease or well operations there;
           and
           • your above-ground operations for disposal wells.

           Your above-ground operations for disposal wells means operations above the
           surface of the ground or water bottom that are:
           • the handling of, or transportation by pipeline of, any described substance
           for the purposes of its disposal in a disposal well; and
           • being performed before such disposal happens.

           Described substance means any substance produced from any well that's part
           of:
           • the oil or gas lease or well operations of another if the disposal operations
           are being performed at, on, or in any premises, site, or location that you rent
           or lease from others, or own; or
           • your oil or gas lease or well operations if the disposal operations are being
           performed by or for you at, on, or in any premises, site, or location that you
           don't rent or lease from others, or own.

    2. The following is added to the third paragraph of the definition of your oil or gas
    operations in the Pollution clean-up costs section of the What This Agreement
    Covers section.

           However, we won't apply this paragraph to your above-ground operations for
           disposal wells.

    3. The following is added to what we consider waste to not include in the Pollution
    clean-up costs section of the What This Agreement Covers section.


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                Nor will we consider waste to include any described substance before its
                disposal in a disposal well as part of your above-ground operations for
                disposal wells.

         4. The following replaces the fourth paragraph of the Pollution injury or damage
         exclusion, but only for this endorsement.

                Also, we won't apply this exclusion to bodily injury, property damage, or
                medical expenses that result from a sudden and accidental pollution incident
                which:
                • begins on a specific date and on a specific time while this agreement is in
                effect;
                • takes place at, on, in, or from any premises, site, or location where your
                above-ground operations for disposal wells are being performed, other than
                any such premises site, or location you rent, lease from others, or own, that's
                a waste site;
                • doesn't involve any pollutant that's a waste pollutant at the time of its
                discharge, escape, or release;
                • doesn't result from pollution work by or for any protected person or others
                unless such work qualifies as your above-ground operations for disposal
                wells; and
                • doesn't result from any intentional and willful violation of any
                governmental law, regulation, or rule by you or anyone acting on your behalf.

         Other Terms

         All other terms of your policy remain the same.

(Id.)5

         The Paladin Policy contains an endorsement that excludes coverage for total pollution injury

or damage and pollution clean-up costs (TPE Endorsement). (docs. 74-1 at 137; 77 at 143.) It

provides:

         TOTAL POLLUTION INJURY OR DAMAGE AND POLLUTION
         CLEAN-UP COSTS EXCLUSION ENDORSEMENT - OIL AND GAS
         COMMERCIAL GENERAL LIABILITY



         5
          The similar endorsement in the Umbrella policies is entitled YOUR ABOVE-GROUND OPERATIONS FOR
DISPOSAL WELLS ENDORSEMENT - OIL AND GAS UMBRELLA EXCESS LIABILITY. (docs. 74-2 at 80; 74-4
at 89; 77-1 at 79; 77-2 at 146.)

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    This endorsement changes your Oil And Gas Commercial General Liability
    Protection.

    How Coverage Is Changed

    There are four changes that are explained below. These changes exclude coverage.

    1. The following replaces what we consider waste to include and not to include in the
    Pollution clean-up costs section of the What This Agreement Covers section.

           Waste includes materials to be recycled, reconditioned, or reclaimed.

    2. The following replaces the Pollution clean-up costs that result from your products
    exclusion.

           Pollution clean-up costs. We won’t cover pollution clean-up costs.

    3. The following replaces the Pollution injury or damage exclusion.

           Pollution injury or damage. We won’t cover injury or damage or medical
           expenses that result from pollution.

    4. The following replaces the Pollution work loss, cost, or expense exclusion.

           Pollution work loss, cost, or expense. We won’t cover any:
           • loss, cost, or expense that results from any request, demand, order, or
           statutory or regulatory requirement that any protected person or others
           perform pollution work;
           • cost or expense that's for pollution work; or
           • loss, cost, or expense that results from any claim or suit by or for any
           governmental authority because of the performance of pollution work.

           For example:

           A chemical spill at your manufacturing facility releases a vapor cloud.
           Several people are exposed to the vapor cloud before it disappears. None of
           them sustain any apparent bodily injury. However, some of them demand that
           you arrange and pay for medical checkups now, and yearly for the next ten
           years, to assess the effect of the vapor cloud on their health. We won’t cover
           the cost of such pollution work, regardless of who orders or performs it.

    Other Terms

    All other terms of your policy remain the same.

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(Id.)6

B.       Sale of Paladin Assets

         On April 21, 2016, Paladin filed for Chapter 11 bankruptcy in the United States Bankruptcy

Court for the Northern District of Texas. See In re Paladin Energy Corp., No. 16-31590-bjh-11

(N.D. Tex. Bank.) (Paladin Bankr.). Throughout the bankruptcy, it continued to operate its business

and to manage its bankruptcy estate as debtor-in-possession. (See Paladin Bankr., doc. 1.) In

February 2017, saltwater spills occurred at two of its well sites in New Mexico (collectively Spill

A). (docs. 63 at 4; 65 at 4.) The New Mexico Oil Conservation Division (NMOCD) assigned a

release remediation permit for Spill A, and Paladin filed a claim with Defendant for coverage under

the Paladin Policy for the costs associated with responding to Spill A. (docs. 63 at 4-5; 65 at 4.)

         On May 15, 2017, Paladin and Plaintiff executed a Stalking Horse Purchase and Sale

Agreement (PSA), effective May 1, 2017, for the purchase of substantially all of Paladin’s oil and

gas property (collectively the Property). (docs. 74-8; 77-3 at 33-155.) The PSA set forth the terms

and conditions of the sale and assignment of the Property to Plaintiff, including, in part, that the

parties would seek an order from the bankruptcy court “authorizing and approving the Sale

Transaction Free and Clear (except for Permitted Encumbrances and Buyer’s Assumed Obligations,

including the assumption and assignment of certain executory contracts and unexpired leases,

pursuant to Sections 105, 363 and 365 of the Bankruptcy Code.” (docs. 74-8 at 10; 77-3 at 41.) It

provides that “Seller shall sell, convey and assign to Buyer and Buyer shall purchase, pay for, and

accept all of Seller’s right and title to, and interest in, and all privileges and obligations appurtenant


         6
       The similar endorsement in the Umbrella policy is entitled TOTAL POLLUTION INJURY OR DAMAGE
AND POLLUTION CLEAN-UP COSTS EXCLUSION ENDORSEMENT - WITH EXCEPTION FOR CERTAIN
BODILY INJURY, PROPERTY DAMAGE, POLLUTION COST OR EXPENSE RELATED TO AUTOS - OIL AND
GAS UMBRELLA EXCESS LIABILITY. (docs. 74-2 at 74-75; 77-1 at 73-74.)

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to” the Property, including, among other things, “any interests related to insurance policies that may

be in place to cover any liability outlined in or related to Buyer’s obligations as set forth in Section

9.2, Section 9.3 and Section 9.4.” (docs. 74-8 at 18-19; 77-3 at 49-50.) Section 9.4, entitled

“Buyer’s Environmental Obligations,” states:

        Upon and after Closing, and subject to Downward Adjustments as outlined herein,
        Buyer assumes full responsibility and liability for all occurrences, events, conditions,
        and activities on or related to the Property (the “Environmental Obligations”),
        regardless of whether arising from the ownership or operation of the Property before,
        on or after the Effective Date, and regardless of whether resulting from any acts or
        omissions of Seller (INCLUDING THOSE ARISING FROM SELLER'S SOLE,
        JOINT, CONCURRENT, OR COMPARATIVE NEGLIGENCE, STRICT
        LIABILITY OR OTHER FAULT) or the condition of the Property when acquired,
        including but not limited to the following:

                (a) Environmental pollution or contamination, including pollution or
                contamination of the soil, groundwater or air by Hydrocarbons, drilling fluid
                or other chemicals, brine, produced water, NORM, or any other substance;

                (b) Underground injection activities and waste disposal on the Property;

                (c) Clean-up responses, and the cost of remediation, control, assessment or
                compliance with respect to surface and subsurface pollution caused by spills,
                pits, ponds, lagoons or subsurface storage tanks;

                (d) Non-compliance with applicable land use, surface disturbance, licensing
                or notification Laws or Orders;

                (e) Disposal on the Property of any hazardous substances, wastes,
                materials and products generated by or used in connection with the
                ownership or operation of the Property before, on or after the Effective Date;
                and

                (f) Non-compliance with Environmental Laws.

(docs. 74-8 at 46-47; 77-3 at 77-78.)

        The PSA also provides that Paladin “shall sell, convey and assign to” Plaintiff all of its “right

and title to, and interest in, and all privileges and obligations appurtenant to . . . [a]ll Claims arising


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from acts, omissions or events, or damage to or destruction of items following within this definition

of the ‘Property,’ whether on or after the Effective Date, and all related rights, titles, claims and

interests of [Paladin].” (docs. 74-8 at 19; 77-3 at 50.) The PSA defines a “Claim,” in relevant part,

as “a claim as such term is defined in Section 101(5) of the Bankruptcy Code,7 and any and all

demands, losses, liabilities, damages, obligations, expenses, fines, penalties, costs, claims, causes

of action and judgments for: (a) breaches of Contract; (b) loss or damage to property, injury to or

death of persons (including illness and disease), and other tortious injury; or (c) violations of

applicable Laws, Orders or any other legal right or duty actionable at law or equity.” (doc. 74-8 at

11-12; 77-3 at 42-43.)

         On June 11, 2017, a spill occurred at another Paladin well site in New Mexico (Spill B), and

Paladin notified Plaintiff of Spill B on June 14, 2017. (docs. 63 at 5; 65 at 4.) It also notified

Defendant and filed a claim for coverage under the Paladin Policy for the costs associated with

responding to Spill B, and the NMOCD assigned a release remediation permit for Spill B. (Id.)

Defendant initially accepted the claim for Spill B and paid almost $25,000 for costs associated with

responding to Spill B. (Id.)

         On July 21, 2017, the bankruptcy court entered an order pursuant to “sections 105(a), 363,

and 365 of the Bankruptcy Code and Rules 6004 and 6006 of the Federal Rules of Bankruptcy

Procedure,” approving the sale of substantially all of Paladin’s assets (Assets) to Plaintiff under the

PSA (Sale Order). (doc. 77-3 at 138.) The Sale Order authorized and directed Paladin to



         7
           Under 11 U.S.C. § 101(5), a “Claim” includes both the “right to payment, whether or not such right is reduced
to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,
secured, or unsecured” and the “right to an equitable remedy for breach of performance if such breach gives rise to a
right to payment, whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent, matured,
unmatured, disputed, undisputed, secured, or unsecured.”

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“consummate the sale of the Assets, pursuant to and in accordance with the terms and conditions of

the PSA including, without limitation, the conveyance of the Assets to the High Bidder and the

assumption and assignment of the Assumed Contracts to be assumed in connection with the PSA.”

(Id. at 144.) It also provided that “the transfer and/or assignment of the Assets and the Assumed

Contracts shall be effectuated on the terms set forth herein, and shall not be restricted or prohibited,

notwithstanding any alleged approval rights, consent rights, preferential purchase rights, rights of

purchase, rights of first refusal, rights of first offer, or similar rights with respect to the Debtor’s

transfer, sale vesting, assumption, and/or assignment of the Assets, including the Assumed

Contracts; and any counterparties to the Assumed Contracts shall be deemed to consent to and

approve of the transfer, sale, vesting, assumption, and/or assignment of the Debtor’s interests in the

Assets, including the Assumed Contracts, by the Debtor.” (Id. at 148.)

        The sale closed on August 18, 2017, with Plaintiff and Paladin entering an Assignment and

Bill of Sale (Assignment), effective May 1, 2017, which was made and accepted subject to all of the

terms and conditions of the PSA and Sale Order. (Id. at 157-201.) Under the Assignment, Paladin

granted, sold, conveyed, assigned, and transferred to Plaintiff all of its right, title, and interest in and

to the Property, including, among other things, “any interests related to insurance policies that may

be in place to cover any liability outlined in or related to” the environmental obligations assumed

by Plaintiff, “regardless of whether arising from the ownership or operation of the Property before,

on or after the Effective Date,” and “[a]ll Claims arising from acts, omissions or events, or damage

to or destruction of” such property “whether on or after the Effective Date, and all related rights,

titles, claims and interests of” Paladin. (Id. at 157-59, 164.) The exhibits to the Assignment identify

the assets Plaintiff acquired from Paladin, and include the interests Paladin had in the well where


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Spill B occurred. (Id. at 170-81.)

       On September 7, 2017, Defendant sent Paladin two letters stating that it had “settled the

property damage claim filed against your St. Paul Fire And Marine policy” in connection with Spill

A. (docs. 63 at 5; 65 at 4.) In October 2017, Plaintiff, Paladin, and EeTradeco, LLC (EeTradeco)

entered into a Transition Agreement “to vest EeTradeco with the power and authority to assist in

effectuating the orderly transitions of the rights and responsibilities relating to” Spills A and B and

certain properties assigned to Plaintiff under the PSA. (doc. 77-3 at 203-09.) On June 11, 2018,

NMOCD emailed Plaintiff, Defendant, and a third-party remediation contractor that the proposed

remediation plan for Spill B was approved. (docs. 63 at 5; 65 at 4.) On January 19, 2018, the

bankruptcy court issued an order confirming the Chapter 11 liquidation of Paladin. (doc. 77-3 at

211-15.)

C.     Denial of Coverage

       On or about February 28, 2019, Plaintiff and Defendant participated in a conference call with

the impacted landowners, their lawyers, and the remediation contractor, regarding the approved

remediation plan for Spill B. (docs. 63 at 6; 65 at 4-5.) The landowners rejected the plan and

demanded a complete removal and replacement of soil at an estimated cost of $3.5 million. (Id.) On

May 28, 2019, Defendant sent Plaintiff a letter denying coverage for Spill B under the Paladin

Policy based, among other things, on the “total pollution exclusion” endorsement that altered

coverage for “pollution clean-up costs.” (doc. 77-3 at 26-31.)

       On October 18, 2019, Plaintiff sold its interests in the well involved in Spill B, but it

expressly retained all environmental liabilities concerning Spill B. (docs. 74-6 at 28; 88 at 39-41.)

On or about August 18, 2020, Plaintiff submitted a formal claim to Defendant for Spill B under the


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Pogo Policy. (docs. 74-6 at 35-36; 74-9 at 8.) On September 18, 2020, Defendant sent Plaintiff a

letter denying its “claim for clean-up costs with respect to Spill B” under the Pogo Policy because,

among other things, the spill did not result from its “oil or gas operations as defined in the Pogo

Policy,” and Plaintiff failed to submit its claim within the policy’s “90-day reporting period

requirement for pollution claims.” (doc. 74-9 at 9.)

D.       Procedural History

         On September 27, 2019, Plaintiff originally filed this lawsuit against Defendant in state

court. (doc. 8-3.) After the case was removed to federal court, Plaintiff was granted leave to file a

Second Amended Complaint on May 13, 2021. (See docs. 62, 63.) The Second Amended Complaint

asserts claims under the Paladin and Pogo Policies for breach of contract, bad faith (including

violations of Chapter 541 of the Texas Insurance Code), and declaratory relief. (doc. 63 at 13-17.)

Plaintiff seeks actual and exemplary damages, prejudgment and post-judgment interest, court costs,

and attorneys’ fees under Tex. Civ. Prac. & Rem. Code §§ 38.001 and 37.009 and Tex. Ins. Code

§ 541.152. (Id. at 17-18.) It also requests an order declaring that Defendant “owes a duty under the

Paladin and Pogo policies to 1) defend [it] against the landowner’s demands related to Spill B; and

2) to indemnify [it] for the costs it has incurred and will continue to incur as a result of its legal

liability to clean-up Spill B.” (Id. at 14.)

         On July 14, 2021, Defendant and Plaintiff filed competing partial motions for summary

judgment. (See docs. 72, 75.)8 With timely filed responses and replies (see docs. 84, 87, 89, 91),

these motions are ripe for consideration.



         8
         On the same day, Defendant also moved to dismiss the claims for breach of contract and bad faith under the
Paladin Policy under Rule 12(c) of the Federal Rules of Civil Procedure (doc. 71), which was separately considered and
denied on January 24, 2022 (doc. 95).

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                          II. MOTION FOR SUMMARY JUDGMENT

        Summary judgment is appropriate when the pleadings and evidence on file show that no

genuine issue exists as to any material fact and that the moving party is entitled to judgment as a

matter of law. Fed. R. Civ. P. 56(a). “[T]he substantive law will identify which facts are material.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A genuine issue of material fact exists

“if the evidence is such that a reasonable jury could return a verdict for the non-moving party.” Id.

        The movant makes a showing that there is no genuine issue of material fact by informing the

court of the basis of its motion and by identifying the portions of the record that reveal there are no

genuine material fact issues. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). If it “bears the

burden of proof on an issue, either because [it] is the plaintiff or as a defendant [it] is asserting an

affirmative defense, [it] must establish beyond peradventure all of the essential elements of the claim

or defense to warrant judgment in [its] favor.” Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th

Cir. 1986) (emphasis in original). The moving party can also meet its summary judgment burden

by “pointing out to the district court that there is an absence of evidence to support the nonmoving

party’s case.” Celotex Corp., 477 U.S. at 325 (internal quotation omitted). There is “no genuine

issue as to any material fact [where] a complete failure of proof concerning an essential element of

the nonmoving party’s case necessarily renders all other facts immaterial.” Id. at 323.

        Once the movant makes this showing, the non-movant must then direct the court’s attention

to evidence in the record sufficient to establish that there is a genuine issue of material fact for trial.

Id. at 324. It must go beyond its pleadings and designate specific facts to show there is a genuine




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issue for trial. Id.; Anderson, 477 U.S. at 249.9 Rule 56 imposes no obligation for a court “to sift

through the record in search of evidence to support a party’s opposition to summary judgment.”

Adams v. Travelers Indem. Co., 465 F.3d 156, 164 (5th Cir. 2006) (quoting Ragas v. Tenn. Gas

Pipeline Co., 136 F.3d 455, 458 (5th Cir.1998)). Parties must “identify specific evidence in the

record” supporting challenged claims and “articulate the precise manner in which that evidence

supports [those] claim[s].” Ragas, 136 F.3d at 458 (citing Forsyth v. Barr, 19 F.3d 1527, 1537 (5th

Cir. 1994)). While all of the evidence must be viewed in a light most favorable to the motion’s

opponent, Anderson, 477 U.S. at 255 (citing Adickes v. S.H. Kress & Co., 398 U.S. 144, 158-59

(1970)), neither conclusory allegations nor unsubstantiated assertions satisfy the non-movant’s

summary judgment burden. Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc);

Topalian v. Ehrman, 954 F.2d 1125, 1131 (5th Cir. 1992). Summary judgment in favor of the

movant is proper if, after adequate time for discovery, the motion’s opponent fails to establish the

existence of an element essential to his case and as to which he will bear the burden of proof at trial.

Celotex, 477 U.S. at 322-23.

                                      III. BREACH OF CONTRACT

         Defendant moves for summary judgment on Plaintiff’s breach of contract claim under the

Pogo Policy. (doc. 73 at 14-18.) Plaintiff moves for summary judgment on liability on its breach of

contract claim under both the Pogo and Paladin Policies. (doc. 76 at 25-32.)




         9
          “The parties may satisfy their respective burdens by ‘citing to particular parts of materials in the record,
including depositions, documents, electronically stored information, affidavits or declarations, stipulations . . .
admissions, interrogatory answers, or other materials.’” Rooters v. State Farm Lloyds, 428 F. App’x 441, 445 (5th Cir.
2011) (citing Fed. R. Civ. P. 56(c)(1)).

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         The essential elements of a breach of contract claim in Texas10 are: (1) the existence of a

valid contract; (2) breach of the contract by the defendant; (3) performance or tendered performance

by the plaintiff; and (4) damages sustained by the plaintiff as a result of the defendant’s breach.

Mullins v. TestAmerica, Inc., 564 F.3d 386, 418 (5th Cir. 2009) (citing Aguiar v. Segal, 167 S.W.3d

443, 450 (Tex. App.–Houston [14th Dist.] 2005, pet. denied)). Under Texas law, the party seeking

to recover for breach of an insurance contract bears the initial “burden of establishing coverage

under the terms of the policy.” Gilbert Tex. Constr., L.P. v. Underwriters at Lloyd’s London, 327

S.W.3d 118, 124 (Tex. 2010); see also Davis v. Nat’l Lloyds Ins. Co., 484 S.W.3d 459, 468 (Tex.

App.—Houston [1st Dist.] 2015, pet. denied) (“[I]n the context of an insurance policy, a plaintiff

must prove the existence of a valid insurance policy covering the denied claim and entitlement to

money damages on that claim.”). Once general coverage is established, the burden then shifts to the

insurer to show that an exclusion applies and negates coverage. JAW The Pointe, L.L.C. v. Lexington

Ins., 460 S.W.3d 597, 603 (Tex. 2015). “If the insurer proves that an exclusion applies, the burden

shifts back to the insured to show that an exception to the exclusion brings the claim back within

coverage.” Gilbert, 327 S.W.3d at 124.

         “Texas law provides that insurance policies are construed according to common principles



          10
             “It is a long-recognized principle that federal courts sitting in diversity cases ‘apply state substantive law and
federal procedural law.’” Shady Grove Orthodpedic Assoc., P.A. v. Allstate Ins. Co., 559 U.S. 393, 417 (2010) (quoting
Hanna v. Plumer, 380 U.S. 460, 465 (1965)). Here, the dispute concerns Texas insurance policies issued to Texas
companies, and the alleged actions giving rise to Plaintiff’s claims arose in whole or in part in Texas. (See docs. 63 at
1); see De Aguilar v. Boeing Co., 47 F.3d 1404, 1413 (5th Cir. 1995) (quoting Duncan v. Cessna Aircraft Co., 665
S.W.2d 414, 421 (Tex. 1984)) (“[T]he law of the state with the most significant relationship to the particular substantive
issue will be applied to resolve that issue.”); see also Faloona by Fredickson v. Hustler Magazine, Inc., 799 F.2d 1000,
1003 (5th Cir. 1986) (citing Duncan, 665 S.W.2d at 421) (contacts to take into account in determining the applicable
law include the place of contracting and place of performance); Escalon v. World Group Sec., Inc., No. 5:07-CV-214-C,
2008 WL 5572823, at *8 (N.D. Tex. Nov. 14, 2008) (citing Lockheed, 16 S.W.3d at 133-34) (“Under Texas law, the
buying and selling corporations’ purchase agreement’s choice of law provision controls the applicability of successor
liability doctrines.”). The parties do not dispute that Texas law applies.

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governing the construction of contracts, and the interpretation of an insurance policy is a question

of law for a court to determine.” Am. Int’l Specialty Lines Ins. Co. v. Rentech Steel L.L.C., 620 F.3d

558, 562 (5th Cir. 2010); see Nat’l Union Fire Ins. Co. of Pittsburgh, PA v. CBI Indus., Inc., 907

S.W.2d 517, 520 (Tex. 1995) (“Insurance policies are controlled by rules of interpretation and

construction which are applicable to contracts generally.”). The primary goal of the court is “to give

effect to the written expression of the parties’ intent.” Balandran v. Safeco Ins. Co. of America, 972

S.W.2d 738, 741 (Tex. 1998). “Where the language of a contract is clear, a court’s inquiry should

begin and end with the policy’s language.” Nautilus Ins. Co., 566 F.3d at 455. “Unless the policy

dictates otherwise, [courts] give words and phrases their ordinary and generally accepted meaning,

reading them in context and in light of the rules of grammar and common usage.” Nassar v. Liberty

Mut. Fire Ins. Co., 508 S.W.3d 254, 258 (Tex. 2017) (quoting RSUI Indem. Co. v. The Lynd Co.,

466 S.W.3d 113, 118 (Tex. 2015)). “When terms are defined in an insurance policy, those

definitions control the interpretation of the policy.” TIG Ins. Co. v. San Antonio YMCA, 172 S.W.3d

652, 658 (Tex. App.—San Antonio 2005, no pet.) (citing Trinity Universal Ins. Co. v. Cowan, 945

S.W.2d 819, 823 (Tex. 1997). “Reliance on defined terms in insurance policies to construe those

contracts is necessary to determine the intent of the parties and integral to the application of basic

principles of contract interpretation to insurance policies.” Provident Life & Accident Ins. v. Knott,

128 S.W.3d 211, 219 (Tex. 2003).

       When construing the provisions of a policy, the court must “examine the entire agreement

and seek to harmonize and give effect to all provisions so that none will be meaningless.” Gilbert,

327 S.W.3d at 126. “[N]o one phrase, sentence, or section of a contract should be isolated from its

setting and considered apart from the other provisions.” Nassar, 508 S.W.3d at 257. “‘Endorsements


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to a policy generally supersede and control over conflicting printed terms within the main policy;’

however, the provisions found in the main ‘policy and endorsement should be construed together

unless’ doing so would negate or render superfluous the additional coverage afforded in the

endorsement.” Mid-Continent Cas. Co. v. Bay Rock Operating Co., 614 F.3d 105, 115 (5th Cir.

2010) (quoting Mesa Operating Co. v. Cal. Union Ins. Co., 986 S.W.2d 749, 754-55 (Tex.

App.—Dallas 1999, pet. denied)). “An endorsement to an insurance policy controls the policy

insofar as it enlarges, modifies, or restricts the terms of the policy, and if there is any conflict

between the rider and the policy, the rider controls in construing the contract especially where the

provisions of the rider are more specific.” Penthouse Owners Ass’n, Inc. v. Certain Underwriters

at Lloyds, London, 612 F.3d 383, 386 (5th Cir. 2010) (quotations and citation omitted).

       “If a contract as written can be given a clear and definite legal meaning, then it is not

ambiguous as a matter of law.” JAW The Pointe, 460 S.W.3d at, 603 (citation omitted). “Any

disagreement about the meaning of the contract does not render it ambiguous; instead, the contract

must be ‘susceptible to two or more reasonable interpretations.’” Tesoro Ref. & Mktg. Co., L.L.C.

v. Nat’l Union Fire Ins. Co. of Pittsburgh, Penn., 833 F.3d 470, 474 (5th Cir. 2016) (quoting

American Mfrs. Mut. Ins. Co. v. Schaefer, 124 S.W.3d 154, 157 (Tex. 2003)). “[A] contract is

ambiguous only when the application of pertinent rules of interpretation to the face of the instrument

leaves it genuinely uncertain which one of two or more meanings is the proper meaning.” RSUI

Indem., 466 S.W.3d at 119. “Where an ambiguity involves an exclusionary provision of an insurance

policy, [the court] ‘must adopt the construction ... urged by the insured as long as that construction

is not unreasonable, even if the construction urged by the insurer appears to be more reasonable or

a more accurate reflection of the parties’ intent.’” Balandran, 972 S.W.2d at 741 (quoting Nat’l


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Union Fire Ins. Co. v. Hudson Energy Co., 811 S.W.2d 552, 555 (Tex. 1991); see Mid-Continent

Cas. Co. v. Swift Energy Co., 206 F.3d 487, 491 (5th Cir. 2000) (“In Texas, when an insurance

policy is ambiguous or inconsistent, the construction that would afford coverage to the insured must

govern.”).

A.      Pogo Policy

       Both parties move for summary judgment on Plaintiff’s claim for breach of contract under

the Pogo Policy. (docs. 73 at 14; 76 at 29.) Defendant argues that the summary judgment evidence

demonstrates that because the claim was not reported within the 90-day reporting period, clean-up

and remediation costs for Spill B are not covered under the Pogo Policy. (doc. 73 at 14-16.) Plaintiff

argues that Spill B is covered because the uncontroverted evidence shows that Defendant became

aware of Spill B within the 90-day reporting period, and any failure to comply with the notice

provision does not preclude coverage because Defendant cannot demonstrate actual prejudice from

the delay. (doc. 76 at 31.)

       The Pogo Policy provides limited coverage for “pollution clean-up costs” from a “sudden

and accidental pollution incident.” (docs. 74-3 at 115-18; 77-2 at 24-27.) A “sudden and accidental

pollution incident” is defined, in relevant part, as “the discharge, escape, or release of a pollutant

that is sudden and accidental . . . and is reported to us under this agreement within 90 days after it

first becomes known to you or any of your employees, your operating agent or any of its employees,

your pumper-gauger or any of its employees, or any other applicable person or organization.” (docs.

74-3 at 117-18; 77-2 at 26-27 (emphasis added).)

       Defendant contends that there is no coverage for Spill B under the Pogo Policy because “a

claim for Spill B was not tendered to [it] under the Pogo policy until well after this lawsuit was filed


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and almost three years after the Pogo policy’s 90-day reporting requirement.” (doc. 73 at 15.) It

provides excerpts from the October 2020 deposition of Plaintiff’s corporate representative, who

acknowledged that Plaintiff did not “officially” file a claim for Spill B on the Pogo Policy before

the 90-day period had ended, and that it only recently submitted a claim for coverage on the Pogo

Policy because it was prudent to have a claim on the record. (doc. 74-6 at 35-37.) It also provides

the September 18, 2020 letter from Defendant to Plaintiff denying the claim for Spill B under the

Pogo Policy; it explained that no coverage was provided because, among other reasons, Plaintiff

failed to comply with the “90-day reporting period requirement for pollution claims.” (doc. 74-9 at

8-9.) The parties do not dispute that Spill B occurred in June 2017. (See docs. 63 at 5; 65 at 4.) By

pointing to evidence demonstrating that Plaintiff’s claim is not covered by the “Pollution clean-up

costs” provision of the Pogo Policy, Defendant has met its summary judgment burden on the breach

of contract claim.

       1.      Prejudice

       The burden now shifts to Plaintiff to identify evidence raising a genuine issue of material fact

regarding whether Spill B is covered under the Pogo Policy. In its response to Defendant’s motion,

Plaintiff argues that Defendant must show prejudice to deny coverage for its “belated claim” because

the Pogo Policy is an “occurrence policy.” (doc. 87 at 29.) It provides the printout of Defendant’s

website that describes the same policy issued to Plaintiff as providing “occurrence-based coverage,

including for pollution claims or suits.” (doc. 63-9 at 2.)

       In Texas, “courts traditionally distinguish between two types of insurance policies:

‘occurrence’ policies and ‘claims-made’ policies.” Matador Petroleum Corp. v. St. Paul Surplus

Lines Ins. Co., 174 F.3d 653, 658 (5th Cir. 1999). Occurrence policies cover the insured for acts or


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omissions that happened during the policy period, regardless of whether “the claim ... is brought to

the attention of the insured or made known to the insurer during the policy period,” while

claims-made policies cover the insured for all claims reported to the insurer during the policy period,

“regardless of when the covered act or omission occurred.” Id. at n.2 (citations omitted); see also

Prodigy Commc’ns Corp. v. Agric. Excess & Surplus Ins. Co., 288 S.W.3d 374, 378-79 (Tex. 2009)

(“[T]he main difference between [‘claims-made’ and ‘occurrence’] policies is that a ‘claims-made’

policy provides unlimited retroactive coverage and no prospective coverage, while an ‘occurrence’

policy provides unlimited prospective coverage and no retroactive coverage.”). “Notice provisions,

which are generally contained in both claims-made and occurrence policies, are provisions in

insurance contracts that, in a claims-made policy, require the insured to give the insurer prompt

notice of a potential claim against the insured and in an occurrence policy, require the insured to

give prompt notice of an event that the insured seeks recovery for.” Int’l Ins. Co. v. RSR Corp., 148

F. App’x 226, 231 (5th Cir. 2005). In an occurrence policy, coverage is based on the triggering

event, and any notice requirement “is subsidiary to the event that triggers coverage.” Matador, 174

F.3d at 958. Under a claims-made policy, “notice itself constitutes the event that triggers coverage.”

Id. at 959. Because courts strictly enforce notice requirements in claims-made policies, the insurer

does not need to show prejudice to deny coverage on the basis of untimely notice under a claims-

made policy. Id.

       While a showing of prejudice by the insurer is generally required where the insured fails to

comply with an occurrence policy’s notice provisions, an insurance policy can “share characteristics

in common with both an ‘occurrence’ and a ‘claims-made’ policy.” See Matador, 174 F.3d at 659.

To determine whether the insurer must demonstrate prejudice to deny coverage for the insured’s


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untimely notice of a claim, the court must examine the policy’s provisions and ascertain whether the

nature of the bargain underlying the agreement between the parties resembles an occurrence or

claims-made policy. See id.; see also Starr Indem. & Liab. Co. v. SGS Petroleum Serv. Corp., No.

CV-H-11-2461, 2012 WL 12877817, at *6 (S.D. Tex. July 24, 2012), aff’d by 719 F.3d 700 (5th Cir.

2013) (“The nature of the bargain in an ‘occurrence’ policy does not require strict compliance with

notice requirements, but the nature of the bargain in a ‘claims-made’ policy differs, and may require

strict compliance.”).

       Under the plain language of the “Pollution clean-up costs” provision, a sudden and accidental

pollution incident must be reported to Defendant “under this agreement” within a 90-day reporting

period for pollution clean-up costs coverage to apply. (docs. 74-3 at 118; 77-2 at 27.) In Matador,

the Fifth Circuit found that an oil and gas commercial general liability policy with a similar notice

requirement shared characteristics in common with both occurrence and claims-based policies, but

resembled the nature of the bargain underlying a claims-made policy. See 174 F.3d at 659. The

policy provided coverage for pollution incidents and stated that “a pollution incident is covered only

if the incident is known to you or your operating partner within 7 days of its beginning and is

reported to the company within 30 days of its beginning.” Id. at 657 (cleaned up). The Fifth Circuit

found that this language plainly showed that “timely reporting of the claim constituted one of the

events necessary to trigger coverage.” Id. at 660. Because the provision was similar in nature to a

claims-made policy, strict compliance with the 30-day notice provision was required, and “whether

the insurer suffered prejudice as a result of the late notice was irrelevant.” Id.

       Like the notice provision in Matador, the plain language of the “Pollution clean-up costs”

provision in the Pogo Policy unambiguously provides that the timely reporting of the incident “under


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this agreement” constitutes one of the events necessary to trigger coverage. See Matador, 174 F.3d

at 660. Whether the pollution incident is reported within the required 90-day period is not “a general

notice requirement but rather is an integral part of the definition of the risk covered.” St. Paul

Surplus Lines Ins. Co. v. Davis Gulf Coast, Inc., No. CIV.A. H-11-0403, 2012 WL 2160445, at *6

(S.D. Tex. June 13, 2012) (analyzing an almost identical pollution clean-up coverage provision with

the same 90-day reporting period under Texas and Oklahoma law, and concluding that insurer did

not need to show prejudice to deny coverage for the insured’s noncompliance). Accordingly,

Defendant need not show prejudice resulting from Plaintiff’s failure to comply with the Pogo

Policy’s 90-day notice requirement. See Starr, 2012 WL 12877817, at *9 (finding notice

requirement in an occurrence policy that resembled the notice provision of a “claims-made” policy

requires strict compliance without a showing of prejudice); see also Blanco W. Properties, LLC v.

Arch Specialty Ins. Co., No. CV H-18-0897, 2018 WL 6573117, at *6 (S.D. Tex. Oct. 5, 2018), aff’d

sub nom. by 773 F. App’x 795 (5th Cir. 2019) (granting summary judgment in favor of insurer on

insured’s breach of contract claim after refusing to impose “a requirement that the insurer

demonstrate prejudice from the insured’s failure to comply with a specific endorsement provision

for notice to the insurer within an explicitly defined time period”).

       2.      Estoppel

       Plaintiff argues that Defendant is estopped under the doctrines of promissory and quasi-

estoppel from denying coverage based on the 90-day notice requirement because it promised to

provide coverage for Spill B under the Paladin Policy for two years. (doc. 87 at 27.)

       “Promissory estoppel generally is a defensive doctrine in that it estops a promisor from

denying the enforceability of [a] promise.” Trammell Crow Co. No. 60 v. Harkinson, 944 S.W.2d


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631, 636 (Tex. 1997). Similarly, “[q]uasi-estoppel precludes a party from asserting, to another’s

disadvantage, a right inconsistent with a position previously taken.” Lopez v. Munoz, Hockema &

Reed, L.L.P., 22 S.W.3d 857, 864 (Tex. 2000). It is well established in Texas, however, that “[t]he

doctrine of estoppel cannot be used to create insurance coverage when none exists by the terms of

the policy.” Tex. Farmers Ins. Co. v. McGuire, 744 S.W.2d 601, 602-03 (Tex. 1988) (citing

Washington Nat. Ins. Co. v. Craddock, 130 Tex. 251, 109 S.W.2d 165 (Tex. 1937)); Minnesota Mut.

Life Ins. Co. v. Morse, 487 S.W.2d 317, 320 (Tex. 1972) (“[W]aiver and estoppel cannot enlarge the

risks covered by a policy and cannot be used to create a new and different contract with respect to

the risk covered and the insurance extended.”). “Changing a policy’s coverage to encompass risks

otherwise not covered must be by contractual means.” Ulico Cas. Co. v. Allied Pilots Ass’n, 262

S.W.3d 773, 787 (Tex. 2008).

       As explained, the 90-day notice requirement is part of the definition of an incident covered

by the “Pollution clean-up costs” provision. (See docs. 74-3 at 117-18; 77-2 at 26-27.) Because the

insured’s compliance with this requirement triggers coverage under the Pogo Policy, allowing

Plaintiff to disregard it “would substantially alter and enlarge the risks covered under the insurance

policy.” Matador, 174 F.3d at 661; see also Komatsu v. United States Fire Ins. Co., 806 S.W.2d 603,

607 (Tex.App.–Fort Worth 1991, writ denied) (“Extension of the notice period in a claims-made

policy constitutes an unbargained for expansion of coverage.”). Accordingly, Defendant is not

estopped from denying coverage on this basis.

       3.      Other Coverage

       Plaintiff argues that the 90-day notice requirement “only applies to the coverage in the Pogo

Policies for ‘Pollution clean-up costs,” and “does not apply to any of the other coverage separately


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provided by the Pogo Policies, including coverage for (1) property damage liability and (2) the right

and duty to defend against claims or suits for injury or damage or pollution clean-up costs.” (doc.

87 at 31.) The Second Amended Complaint does not allege that Plaintiff submitted claims under the

Pogo Policy for property damage or for defending it in an underlying lawsuit that were denied by

Defendant, however. See United Neurology, P.A. v. Hartford Lloyd’s Ins. Co., 101 F. Supp. 3d 584,

617 (S.D. Tex.), aff’d by 624 F. App’x 225 (5th Cir. 2015) (“An insured bears the burden of showing

that it made a claim under the insurance policy.”). Although it quotes the “Bodily injury and

property damage liability” provision, there are no allegations of damages that Plaintiff is legally

required to pay for property damages arising from Spill B, and it concedes that no lawsuit has been

filed by any party against it in connection with Spill B. (See doc. 87 at 31.) Plaintiff fails to identify

a genuine issue of material fact as to whether Defendant breached the Pogo Policy by denying

coverage for property damage or defending it a lawsuit.

        4.      Duty to Search

        Plaintiff contends that Defendant breached the Pogo Policy when it did not search for

coverage for Spill B under that policy after denying coverage under the Paladin Policy. (doc. 87 at

32.) It argues that Defendant owed it the duty to search for coverage because it was the assignee of

the Paladin Policy and was also the named insured of the Pogo Policy. (Id.) Plaintiff does not

identify a provision in the Pogo Policy that requires Defendant to search for coverage when denying

a claim for coverage, or cite any legal authority to support the argument that an insurer has a

contractual duty to search for coverage under other insurance policies that the insured may have with

the insurer, however. See generally Nat’l Union Fire Ins. Co. v. Crocker, 246 S.W.3d 603, 608 (Tex.

2008) (“Mere awareness of a claim or suit does not impose a duty on the insurer to defend under the


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policy; there is no unilateral duty to act unless and until the additional insured first requests a

defense.”).

       In conclusion, the undisputed evidence shows that Plaintiff reported Spill B under the Pogo

Policy to Defendant more than three years after the spill. As discussed, the “Pollution clean-up

costs” provision provides clearly and unambiguously that compliance with the 90-day notice

requirement is a condition of coverage. Because strict compliance with this notice provision is

required, and it is undisputed that Plaintiff failed to comply with this requirement, the summary

judgment evidence would not permit a reasonable trier of fact to find that Defendant breached the

Pogo Policy by denying coverage for pollution clean-up costs. Because it has met its summary

judgment burden to show a failure of proof regarding the breach of the Pogo Policy, its motion on

this claim is granted. Plaintiff has failed to meet its burden , and its motion for summary judgment

on this claim is denied.

B.     Paladin Policy

       Plaintiff moves for summary judgment on the liability portion of its breach of contract claim

under the Paladin Policy. (doc. 76 at 25.) It argues that it has privity of contract under the policy,

the costs for clean up and remediation in connection with Spill B are covered by it, and Defendant

breached the policy when it denied coverage. (Id. at 25-29.)

       1.      Privity

       “[U]nder Texas law privity of contract is an essential element necessary to any recovery in

an action based on contract.” Interstate Contracting Corp. v. City of Dallas, Tex., 320 F.3d 539, 543

(5th Cir. 2003). Because “maintenance of an action for breach of contract generally requires privity

between the party damaged and the party sought to be held liable ... [t]he plaintiff has the burden


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of proving that the defendant has obligated himself under the contract.” C & C Partners v. Sun

Exploration & Production Co., 783 S.W.2d 707, 721-22 (Tex.App.–Dallas 1989, writ denied),

overruled in part by Formosa Plastics Corp. USA v. Presidio Eng’rs & Contrs., 960 S.W.2d 41, 46

(Tex. 1998). “Privity is established by proof that the defendant was a party to an enforceable

contract with either the plaintiff or a party who assigned its cause of action to the plaintiff.” Brown

v. Mesa Distributors, Inc., 414 S.W.3d 279, 284-85 (Tex. App.—Houston [1st Dist.] 2013, no pet.).

       An assignment is a contract between the assignor of a right and an assignee and is subject

to the same rules of construction as ordinary contracts. See Pagosa Oil & Gas, L.L.C. v. Marrs &

Smith P’ship, 323 S.W.3d 203, 211 (Tex.App.–El Paso 2010, pet. denied); D Design Holdings, L.P.

v. MMP Corp., 339 S.W.3d 195, 201 (Tex. App.—Dallas 2011, no pet.). “When an assignee holds

a contractually valid assignment, that assignee steps into the shoes of the assignor and may assert

those rights that the assignor could assert.” 1 Lincoln Fin. Co. v. Am. Family Life Assur. Co. of

Columbus, 02-12-00516-CV, 2014 WL 4938001, at *4 (Tex. App.—Fort Worth Oct. 2, 2014, no

pet.) (citing Gulf Ins. Co. v. Burns Motors, Inc., 22 S.W.3d 417, 420 (Tex. 2000)). This is because

“an assignment carries with it all rights, remedies, and benefits that are incidental to the thing

assigned, and the effect of an assignment can only be limited by exceptions, reservations, conditions,

or restrictions contained therein.” Twelve Oaks Tower I, Ltd. v. Premier Allergy, Inc., 938 S.W.2d

102, 114 (Tex. App.–Houston [14th Dist.] 1996, no writ); see also F.D.I.C. v. McFarland, 243 F.3d

876, 887 n.42 (5th Cir. 2001) (“[A]n assignee takes all of the rights of the assignor, no greater and

no less.”) (citation omitted). “As a general rule, all contracts are assignable.” Crim Truck & Tractor

Co. v. Navistar Intern. Transp. Corp., 823 S.W.2d 591, 596 (Tex. 1992).

       To meet its summary judgment burden, Plaintiff points to the PSA, Assignment, and Sale


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Order as evidence that Paladin’s interests in the Paladin Policy were assigned to it. (doc. 76 at 26.)

The PSA, which was effective May 1, 2017, set forth the terms and conditions of the sale and

assignment of substantially all of Paladin’s assets to Plaintiff and was conditioned upon approval

by the bankruptcy court. (docs. 74-8 at 10; 77-3 at 41.) The Sale Order authorized and directed

Paladin to “consummate the sale of the Assets, pursuant to and in accordance with the terms and

conditions of the PSA including, without limitation, the conveyance of the Assets to the High Bidder

and the assumption and assignment of the Assumed Contracts to be assumed in connection with the

PSA.” (doc. 77-3 at 144.) The Assignment, also effective May 1, 2017, granted, sold, conveyed,

assigned, and transferred to Plaintiff all of Paladin’s right, title, and interest in and to the Property,

including, among other things, “any interests related to insurance policies that may be in place to

cover any liability outlined in or related to” the environmental obligations assumed by Plaintiff,

“regardless of whether arising from the ownership or operation of the Property before, on or after

the Effective Date,” and “[a]ll Claims arising from acts, omissions or events, or damage to or

destruction of” such property “whether on or after the Effective Date, and all related rights, titles,

claims and interests of” Paladin. (Id. at 157-59, 164.) The undisputed evidence shows that Paladin’s

interests in the well where Spill B occurred on June 11, 2017, were assigned to Plaintiff under the

Assignment. (Id. at 170-81; see docs. 63 at 5; 65 at 4.)

        This evidence is sufficient to establish Plaintiff’s contractual privity under the Paladin

Policy. Spill B meets the plain and ordinary meaning of an occurrence or event on or relating to

Paladin’s property that arose from the ownership or operation of that property “before, on or after

the Effective Date, of May 1, 2017,” which was an environmental obligation assumed by Plaintiff

under the terms of the PSA and Assignment. (See docs. 74-8 at 18-19, 46-47; 77-3 at 49-50, 77-78,


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157-59, 164.) The PSA, Assignment, and Sale Order establish that any interests Paladin had in

insurance policies that covered any liability relating to Spill B, including the Paladin Policy, were

assigned to Plaintiff. (See id.; doc. 77-3 at 138, 144, 148.) Plaintiff has met its summary judgment

burden. See S. County Mut. Ins. v. Sur. Bank N.A., 187 S.W.3d 178, 181-82 (Tex. App.–Fort Worth

2006, no pet.) (concluding that assignee of assignor’s right to receive amounts payable under the

insurance policy stood in the shoes of assignor and could “assert only those rights under the

insurance policy that [assignor] itself could assert”); see also Old Am. Ins. Co. v. Lincoln Factoring,

LLC, 571 S.W.3d 271, 282 n.19 (Tex. App.—Fort Worth 2018, no pet.) (“An assignee of insurance

benefits may sue an insurer for breach of contract.”) (citation omitted).

        The burden now shifts to Defendant to identify evidence in the record raising a genuine issue

of material fact that Plaintiff does not have standing to sue on the Paladin Policy. See Celotex Corp.,

477 U.S. at 324. Defendant argues that the Paladin Policy contains an anti-assignment clause “that

voids any attempt to transfer rights under the policy without [its] consent.” (doc. 84 at 11.) The anti-

assignment clause provides, in part:

        Assignments and Transfers
        Neither you nor any other person or organization protected under your policy can
        assign, transfer, or otherwise turn over, your interest in it without consent from us
        in a written form that’s made part of your policy.

(docs. 74-1 at 13; 77 at 19.)

        Anti-assignment clauses in insurance contracts are generally enforced by Texas courts. See

Nautilus Ins. Co. v. Concierge Care Nursing Centers, Inc., 804 F. Supp. 2d 557, 559 (S.D. Tex.

2011); see also Conoco, Inc. v. Republic Ins. Co., 819 F.2d 120, 124 (5th Cir. 1987) (“Texas law

permits the enforcement of no-assignment clauses in insurance policies.”). “These clauses are

enforceable unless rendered ineffective by an applicable statute, estoppel, waiver, or some other

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aspect of contract law.” Nat’l Union Fire Ins. Co. of Pittsburgh, PA v. Puget Plastics Corp., 649 F.

Supp.2d 613, 623 (S.D. Tex. 2009), aff’d by 454 F. App’x 291 (5th Cir. 2011) (citing Johnson v.

Structured Asset Servs., LLC, 148 S.W.3d 711, 721 (Tex.App.–Dallas 2004, no pet.)).

       Section 365(f)(1) of the Bankruptcy Code states, in relevant part, that “notwithstanding a

provision in an executory contract or unexpired lease of the debtor, or in applicable law, that

prohibits, restricts, or conditions the assignment of such contract or lease, the trustee may assign

such contract or lease under paragraph (2) of this subsection.” 11 U.S.C. § 365(f)(1). This statute

permits a bankruptcy trustee to assume an executory contract and assign the contract “even where

legal or contractual provisions would otherwise prohibit assignment.” Matter of Provider Meds,

L.L.C., 907 F.3d 845, 851 (5th Cir. 2018). While the term “executory contract” is not defined in the

Bankruptcy Code, the Fifth Circuit has concluded that “an agreement is executory if at the time of

the bankruptcy filing, the failure of either party to complete performance would constitute a material

breach of the contract, thereby excusing the performance of the other party.” Matter of Murexco

Petroleum, Inc., 15 F.3d 60, 62-63 (5th Cir. 1994) (citations omitted). “For purposes of the

Bankruptcy Code, an insurance policy is a contract.” Charter Sch. Sols. v. GuideOne Mut. Ins. Co.,

407 F. Supp. 3d 641, 647 (W.D. Tex. 2019) (citations omitted).

       The summary judgment evidence shows that the bankruptcy court approved the sale and

assignment of Paladin’s assets to Plaintiff, including the interests in the Paladin Policy, under,

among other statutes, § 365 of the Bankruptcy Code. (See doc. 77-3 at 137-55.) Specifically, the

Sale Order provided that “the transfer and/or assignment of the Assets and the Assumed Contracts

shall be effectuated on the terms set forth herein, and shall not be restricted or prohibited,

notwithstanding any alleged approval rights, consent rights, preferential purchase rights, rights of


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purchase, rights of first refusal, rights of first offer, or similar rights with respect to the Debtor’s

transfer, sale vesting, assumption, and/or assignment of the Assets, including the Assumed

Contracts; and any counterparties to the Assumed Contracts shall be deemed to consent to and

approve of the transfer, sale, vesting, assumption, and/or assignment of the Debtor’s interests in the

Assets, including the Assumed Contracts, by the Debtor.” (Id. at 148 (emphasis added).) Because

any restriction or prohibition on the assignment of the Assets, including the Paladin Policy, was

expressly invalidated under the Sale Order and under § 365 of the Bankruptcy Code, the anti-

assignment provision in the Paladin Policy has been “rendered ineffective.” See Puget Plastics, 649

F. Supp.2d at 623; see, e.g., Charter Sch. Sols., 407 F. Supp.3d at 649 (finding trustee was

authorized under § 365(f)(1) to transfer insurance policy with a non-assignment clause during

insured’s bankruptcy proceedings); see also Safeco Ins. Co. of Am. v. Clear Vision Windshield

Repair, LLC, 564 S.W.3d 913, 919 (Tex. App.—Houston [14th Dist.] 2018, no pet.) (“Anti-

assignment clauses are enforceable unless rendered ineffective by a statute or through the

application of contract law.”). Plaintiff has met its summary judgment burden establishing privity

of contract under the Paladin Policy.

       2.       Coverage

       As discussed, “[t]o ultimately recover for breach of contract, [Plaintiff]—as the insured—has

the initial burden of pleading and proving that the [Paladin Policy] provided coverage.” Finger Oil

& Gas, Inc. v. Mid-Continent Cas. Co., No. 5-20-CV-00712-RBF, 2021 WL 4895727, at *5 (W.D.

Tex. Oct. 20, 2021) (citing JAW The Pointe, 460 S.W.3d at 603); see Gilbert, 327 S.W.3d at 124

(“Initially, the insured has the burden of establishing coverage under the terms of the policy.”).

       Plaintiff points to the Paladin Policy, and contends that its claim for Spill B is covered under


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the plain text of the “Pollution clean-up costs” provision, as modified by the DW Endorsement,

because the spill resulted in “pollution clean-up costs that [were] incurred for a sudden and

accidental pollution incident” that occurred “while this agreement [was] in place” and resulted from

“your work or your completed work in the performance of your oil or gas operation,” including

“your above-ground operations for disposal wells” and was not the result of “any intentional and

willful violation of any governmental law, regulation, or rule.” (docs. 76 at 26-27 n.13; 77 at 8-149.)

Neither party disputes that Spill B occurred during above-ground operations at Paladin’s saltwater

well when the Paladin Policy was in effect. (See docs. 63 at 5; 65 at 4.) It is undisputed that Paladin

timely reported Spill B to Defendant under the Paladin Policy, and that costs for clean up and

remediation have and will be incurred for Spill B. (Id.) Plaintiff has satisfied its initial burden of

showing that the claim for pollution clean-up costs for Spill B falls within the Paladin Policy’s scope

of coverage.

       The burden shifts to Defendant to prove that an exclusion applies and negates coverage. See

Finger Oil & Gas, 2021 WL 4895727, at *5 (citing JAW The Pointe, 460 S.W.3d at 603) (“Once

general coverage is established, the burden then shifts to [the insurer] to prove that an exclusion

applies and negates coverage.”). Defendant argues that the Paladin Policy contains the TPE

Endorsement, which modifies the exclusions of the CGL policy, and expressly excludes pollution

clean-up costs coverage for Spill B. (doc. 84 at 16-17.) The TPE Endorsement expressly states that

it includes changes to the CGL policy that “exclude coverage.” (See docs. 74-1 at 137; 77 at 143.)

This endorsement narrows the scope of coverage under the CGL policy by removing the exceptions

to the definition of “waste,” which in turn limits the types of substances that are covered as part of

“your oil and gas operations.” (See docs. 74-1 at 86-87; 77 at 92-93.) It also expands the scope of


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exclusions under the CGL policy by removing the exceptions contained in the “Pollution clean-up

costs,” “Pollution injury or damage,” and “Pollution work loss, cost, or expense” exclusions, which

eliminates pollution coverage under the CGL policy. (See docs. 74-1 at 110-13; 77 at 116-19.)

When the provisions of the CGL policy are construed together with the TPE Endorsement, the

exclusions remove coverage for pollution clean-up costs for incidents like Spill B.

       As explained, courts must read all parts of the policy together, and give “effect to each word,

clause, and sentence, and avoid making any provision within the policy inoperative.” State Farm

Lloyds v. Page, 315 S.W.3d 525, 527 (Tex. 2010). Each endorsement states that “All other terms

of your policy remain the same.” (docs. 74-1 at 127, 137; 77 at 133, 143.) The plain language in the

DW Endorsement broadens coverage for above-ground operations for disposal wells under the

“Bodily injury and property damage liability” and “Pollution clean-up costs” provisions of the CGL

policy form by adding “your above-ground operations for disposal wells” to the definition of “your

oil or gas operations” in the form’s coverage section, and by adding “your above ground operations

for disposal wells” to the exceptions under the form’s “Pollution injury or damage” exclusion. (See

docs. 74-1 at 86-87, 110-13, 127; 77 at 92-93, 116-19, 133.) The TPE Endorsement removes most

of the exceptions to the “Pollution injury or damage” exclusion of the CGL policy, including the

exception for a “sudden and accidental pollution incident.” (See docs. 74-1 1at 10-12, 137; 77 at

116-18, 143.) Moreover, each endorsement replaces the definition of the same defined term in the

CGL policy: the DW Endorsement modifies the definition of “waste” under the coverage section

by adding another exception for waste, while the TPE Endorsement modifies the same term by

eliminating all exceptions for waste. (See docs. 74-1 at 110-13, 137; 77 at 116-19, 143.)

       If the TPE Endorsement controls, it would eliminate the additional coverage provided by the


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DW Endorsement for above-ground operations for disposal wells, including the added coverage for

pollution clean-up costs for such operations, which would render the DW Endorsement meaningless.

See Big Binder Express, L.L.C. v. Liberty Mut. Fire Ins. Co., 843 F. App’x 548, 553 (5th Cir. 2021)

(rejecting interpretation of policy that would render an endorsement meaningless because it would

be “unreasonable for an insured that agreed to an endorsement to think that the endorsement has no

effect”). Because the exclusions modified by the TPE Endorsement are inconsistent with the

modified terms broadening coverage under the DW Endorsement, the interaction among these

endorsements makes the Paladin Policy ambiguous as a matter of law. When, as here, an

endorsement eliminating coverage creates ambiguity by conflicting with an endorsement expanding

coverage, the reasonable construction that affords coverage to the insured governs. See Bay Rock

Operating, 614 F.3d at 115 (concluding that because the application of the exclusion would

eliminate the additional coverage provided by the endorsement, the exclusion was superseded); see

also Valmont Energy Steel, Inc. v. Commercial Union Ins. Co., 359 F.3d 770, 774 (5th Cir. 2004)

(“If the court finds an ambiguity in the contract provisions, particularly in an exclusion clause, the

court should construe the policy strictly against the insurer.”); Terry Black’s Barbecue, L.L.C. v.

State Auto. Mut. Ins. Co., No. 21-50078, 2022 WL 43170, at *3 (5th Cir. Jan. 5, 2022) (“When an

insurance policy is ambiguous, and the parties offer conflicting reasonable interpretations of the

policy, Texas law favors adopting the interpretation in favor of the insured.”). Because the

reasonable interpretation of the insurance policy that favors coverage governs, “the conflicting

exclusions must be ignored in order to give meaning to the coverage provided by” the DW

Endorsement. Mid-Continent Cas. Co. v. Bay Rock Operating Co., No. SA-07-CA-274-OG, 2009

WL 5341825, at *7 (W.D. Tex. Sept. 30, 2009), aff’d by 614 F.3d 105 (5th Cir. 2010); see INA of


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Tex. v. Leonard, 714 S.W.2d 414, 417 (Tex. App.—San Antonio 1986, writ ref’d n.r.e.) (resolving

ambiguity between conflicting endorsements in favor of insured, where one endorsement excluded

coverage and a subsequent endorsement provided coverage); see, e.g., Primrose Operating Co. v.

Nat’l Am. Ins. Co., 382 F.3d 546, 559 (5th Cir. 2004) (finding Saline Endorsement to CGL policy

that increased the amount payable to insureds on a coverage claim provided coverage, as insurer’s

arguments for limiting coverage under a Pollution Exclusion and Pollution Endorsement “would

render the entire Saline Endorsement meaningless because essentially everything covered by the

endorsement would necessarily be excluded by the Pollution Exclusion clause”). Defendant has

failed to meet its burden of showing that exclusions apply. Accordingly, Plaintiff is entitled to

summary judgment on its claim that remediation and clean-up costs for Spill B are covered under

the “Pollution clean-up costs” provision, as modified by the DW Endorsement of the Paladin Policy.

       3.      Contractual Breach

       To recover for a breach of insurance contract, the plaintiff must show that the insurer actually

breached that contract. See Price v. Dearborn Nat'l Life Ins. Co., No. SA-15-CV-369-XR, 2016 WL

5794800, at *3 (W.D. Tex. Oct. 3, 2016) (citing U.S. Fire Ins. Co. v. Lynd Co., 399 S.W.3d 206, 215

(Tex. App.—San Antonio 2012, pet. denied)). “A breach of contract occurs when a party fails to

perform an act that it has expressly or impliedly promised to perform.” Case Corp. v. Hi-Class Bus.

Sys., 184 S.W.3d 760, 669-70 (Tex. App.—Dallas 2005, pet. denied). “Whether a party has breached

a contract is a question of law.” Gardocki v. J.P. Morgan Chase Bank, No. 12-2254, 2014 WL

12537076, at *4 (S.D. Tex. June 11, 2014) (citing cases).

       Plaintiff provides the May 28, 2019 letter from Defendant denying the claim for pollution

clean-up costs coverage for Spill B under the Paladin Policy. (See doc. 77-3 at 26-31.) As explained,


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Plaintiff has established that this claim is covered under the “Pollution clean-up costs” provision,

as modified by the DW Endorsement, of the Paladin Policy. Plaintiff’s evidence is sufficient to

establish that Defendant breached the Paladin Policy when it denied coverage for Spill B.

       The burden shifts to Defendant to produce evidence to support that there is a disputed

material fact. Defendant does not dispute that it denied coverage for Spill B under the Paladin

Policy, and it does not point to any evidence creating a genuine dispute of material fact that the

denial of coverage was a breach of the Paladin Policy. Plaintiff is entitled to summary judgment as

a matter of law on this claim, and its motion for summary judgment on the liability portion of its

breach of contract claim under the Paladin Policy is granted.

                               IV. DECLARATORY JUDGMENT

       Defendant moves for summary judgment as to Plaintiff’s request for declaratory relief under

the Pogo Policy. (doc. 73 at 21.) Plaintiff moves for summary judgment on its request for

declaratory relief under both policies. (doc. 76 at 32.)

       The federal Declaratory Judgment Act (Act) provides that “[i]n a case of actual controversy

within its jurisdiction, ... any court of the United States, upon the filing of an appropriate pleading,

may declare the rights and other legal relations of any interested party seeking such declaration,

whether or not further relief is or could be sought.” 28 U.S.C. § 2201. The Act “does not create a

substantive cause of action” and “is merely a vehicle that allows a party to obtain an early

adjudication of an actual controversy arising under other substantive law.” Metropcs Wireless, Inc.

v. Virgin Mobile USA, L.P., 3:08-CV-165-D, 2009 WL 3075205, at *19 (N.D. Tex. Sept. 25, 2009)

(citations and quotations omitted). The Act is an authorization and not a command and allows

federal courts broad, but not unfettered, discretion to grant or refuse declaratory judgment. Id.


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Nevertheless, “[i]f a request for a declaratory judgment adds nothing to an existing lawsuit, it need

not be permitted.” Cypress/Spanish Ft. I, LP v. Prof’l Serv. Indus., Inc., 814 F. Supp. 2d 698, 710

(N.D. Tex. 2011) (citing Madry v. Fina Oil & Chem. Co., 44 F.3d 1004, 1994 WL 733494, at *2

(5th Cir. 1994)).

A.        Pogo Policy

          Both parties move for summary judgment on Plaintiff’s declaratory relief claim under the

Pogo Policy based on the same arguments raised in their motions regarding the breach of contract

claim. (docs. 73 at 21; 76 at 32.) Plaintiff seeks declaratory judgment that Defendant owes a duty

under the Pogo Policy to indemnify and defend it in connection with Spill B. (doc. 63 at 14.) This

declaratory relief claim fails for the same reason the breach of contract claim fails—the policy does

not cover the Spill B claim because it was not reported within the 90-day reporting period. For the

same reasons discussed above, Defendant’s motion for summary judgment on the declaratory

judgment claim under the Pogo Policy is granted, and Plaintiff’s motion for summary judgment on

this claim is denied.

B.        Paladin Policy

          Plaintiff moves for summary judgment on its declaratory relief claim under the Paladin

Policy for the same reasons set forth in its motion regarding the breach of contract claim. (doc. 76

at 32.)

          1.     Duty to Indemnify

          Plaintiff seeks summary judgment on its request for a declaratory judgment that Defendant

owes a duty under the Paladin Policy “to indemnify [it] for the costs it has incurred and will continue

to incur as a result of its legal liability to clean-up Spill B.” (doc. 76 at 32.)


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       As discussed, the summary judgment evidence establishes that the Paladin Policy provides

Plaintiff coverage for pollution clean-up costs for Spill B, and that it is entitled to summary

judgment on its breach of contract claim under the Paladin Policy. “Courts in the Fifth Circuit

regularly reject declaratory judgment claims seeking the resolution of issues that will be resolved

as part of the claims in the lawsuit.” Am. Equip. Co. v. Turner Bros. Crane & Rigging, LLC, No.

4:13-CV-2011, 2014 WL 3543720, at *4 (S.D. Tex. July 14, 2014) (citing cases). Because Plaintiff’s

declaratory relief claim for indemnification under the Paladin Policy mirrors its breach of contract

claim and adds nothing in its action against Defendant, it is duplicative and is “unavailable as a

matter of law.” See Vandelay Hosp. Grp. LP v. Cincinnati Ins. Co., No. 3:20-CV-1348-D, 2020 WL

4784717, at *7 (N.D. Tex. Aug. 18, 2020) (citation omitted); Madry, 1994 WL 733494, at *2

(reversing award of declaratory relief where “[t]he declaratory judgment does not declare any

significant rights not already at issue in the contract dispute”); Xtria LLC v. Tracking Sys., Inc., No.

3:07-CV-0160-D, 2007 WL 1791252, at *3 (N.D. Tex. June 21, 2007) (dismissing the plaintiff’s

declaratory judgment action because it “essentially duplicates [the plaintiff’s] breach of contract

claim”); Scritchfield v. Mutual of Omaha Ins. Co., 341 F. Supp.2d 675, 682 (E.D. Tex. 2004)

(dismissing plaintiffs’ declaratory judgment claims because “[p]laintiffs would get nothing from a

declaratory judgement [sic] that they would not get from prevailing on their breach of contract

claims”).

       2.       Duty to Defend

       Plaintiff contends that it is entitled to summary judgment on its request for declaratory

judgment that Defendant owes a duty under the Paladin Policy “to defend [it] against the

landowner’s demands related to Spill B.” (doc. 76 at 32.)


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         In Texas, “[t]he duty to defend means the insurer will defend the insured in any lawsuit that

‘alleges and seeks damages for an event potentially covered by the policy.’” Colony Ins. Co. v.

Peachtree Const., Ltd., 647 F.3d 248, 252-53 (5th Cir. 2011) (quoting D.R. Horton–Texas, Ltd. v.

Markel Int’l Ins. Co., 300 S.W.3d 740, 743 (Tex. 2009)). “Under the eight-corners rule, the duty to

defend is determined by the claims alleged in the petition and the coverage provided in the policy.”

Pine Oak Builders, Inc. v. Great Am. Lloyds Ins. Co., 279 S.W.3d 650, 654 (Tex. 2009). “If a

petition does not allege facts within the scope of coverage, an insurer is not legally required to

defend a suit against its insured.” Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v. Merchants Fast

Motor Lines, Inc., 939 S.W.2d 139, 141 (Tex. 1997).

         Here, Plaintiff does not identify or cite to the provision in the Paladin Policy upon which it

relies in support of its claim that Defendant owed it a “duty to defend” in a lawsuit against it by the

landowners impacted by Spill B. (See doc. 76 at 32-33.) It has therefore not met its summary

judgment burden on this issue.11

         Because Plaintiff has not met its summary judgment burden on its declaratory judgment

claim under the Paladin Policy, its summary judgment motion is denied as to this claim.

                                                  V. BAD FAITH

         Defendant moves for summary judgment on Plaintiff’s bad faith claim under the Pogo

Policy, arguing it fails as a matter of law. (doc. 73 at 18.)

         To succeed on a breach of the duty of good faith and fair dealing claim, the insured must



         11
           In its response to Defendant’s motion for summary judgment on the breach of contract claim under the Pogo
Policy, Plaintiff generally cites the Pogo Policy and contends that it includes coverage for “the right and duty to defend
against claims or suits for injury or damage or pollution clean-up costs.” (doc. 87 at 31.) Even assuming that Defendant
owed the same “duty to defend” under the Paladin Policy, Plaintiff does not cite the specific provision in either policy
giving rise to that duty.

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prove that (1) “the insurer had no reasonable basis for the denial or delay in payment of a claim” and

(2) “the insurer knew or should have known of that fact.” Laws. Title Ins. Corp. v. Doubletree

Partners, L.P., 739 F.3d 848, 869 (5th Cir. 2014) (quoting Union Bankers Ins. Co. v. Shelton, 889

S.W.2d 278, 283 (Tex. 1994)). “Liability under § 541 of the Texas Insurance Code is analyzed under

the same standard as common-law bad faith claims.” Rapid Tox Screen LLC v. Cigna Healthcare

of Texas Inc., No. 3:15-CV-3632-B, 2017 WL 3658841, at *14 (N.D. Tex. Aug. 24, 2017) (citing

Hamilton Props. v. Am. Ins. Co., 643 F. App’x 437, 442 (5th Cir. 2016)). “As a general rule there

can be no claim for bad faith when an insurer has promptly denied a claim that is in fact not

covered.” JAW The Pointe, 460 S.W.3d at 602. If the insurer has properly denied coverage, a claim

for bad faith only exists if the insurer committed an act “so extreme” to “cause injury independent

of the policy claim.” Republic Ins. Co. v. Stoker, 903 S.W.2d 338, 341 (Tex. 1995). Similarly, “an

insured cannot recover any damages based on an insurer’s statutory violation if the insured had no

right to receive benefits under the policy and sustained no injury independent of a right to benefits.”

USAA Tex. Lloyds Co. v. Menchaca, 545 S.W.3d 479, 500 (Tex. 2018).

       Defendant argues that it properly denied coverage under the Pogo Policy, and that there is

no evidence of extreme conduct causing Plaintiff injury independent of its policy claim. (doc. 73 at

20-21.) By pointing out the need for, and lack of, evidence of independent injury from extreme

conduct, it has met its summary judgment burden. See Celotex, 477 U.S. at 325.

       The burden now shifts to Plaintiff to identify a genuine issue of material fact regarding

whether Defendant had engaged in extreme acts that caused it independent injury. Plaintiff contends

that it was “extremely egregious” for Defendant to deny coverage under the Paladin Policy two years

after accepting coverage and to subsequently deny coverage under the Pogo Policy based on the 90-


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day notice requirement. (doc. 87 at 38.) As explained, Plaintiff is not entitled to pollution clean-up

costs coverage under the Pogo Policy for Spill B. Even though Spill B occurred in 2017, the

summary judgment evidence shows that Plaintiff did not submit a claim under the Pogo Policy until

on or about August 18, 2020, and that a month after the formal claim under the Pogo Policy was

submitted, Defendant denied the claim in a letter to Plaintiff dated September 18, 2020. (See docs.

74-6 at 35-37; 74-9 at 8-9.) Plaintiff fails to explain how this time line of events evinces the extreme

conduct necessary for bad faith where an insurance claim has been properly denied. The majority

of Plaintiff’s bad faith allegations concern its claim for Spill B under the Paladin Policy, and are

relevant to its separately-asserted claims for bad faith under the Paladin Policy. Plaintiff fails to

allege or provide summary judgment evidence to raise a genuine issue of fact that it suffered an

injury independent of its policy claim under the Pogo Policy because of extreme conduct by

Defendant. Defendant’s motion for summary judgment is granted on this claim.

                                        VI. CONCLUSION

        Both motions for partial summary judgment are GRANTED in part and DENIED in part.

Plaintiff is entitled to summary judgment on the liability portion of its breach of contract claim under

the Paladin Policy. Plaintiff’s claims for breach of contract, declaratory judgment, and bad faith

under the Pogo Policy are DISMISSED with prejudice. Remaining for trial are Plaintiff’s claims

under the Paladin Policy for declaratory judgment and bad faith, as well as the issue of damages for

the breach of contract claim.

        SO ORDERED this 31st day of January, 2022.


                                                        ___________________________________
                                                        IRMA CARRILLO RAMIREZ
                                                        UNITED STATES MAGISTRATE JUDGE

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